             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 1 of 15




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11
     Attorneysfor Defendant Michael Lacey
12
13                            1N THE UNITED STATES DISTRICT COURT

14                               FOR THE DISTRICT OF ARIZONA

15
     United States of America,                     NO. CR-18-00422-PHX-SPL(BSB)
16
17                       Plaintiff,                DEFENDANT LACEY'S
     vs.                                           OPPOSITION TO GOVERNMENT'S
18                                                 MOTION TO DISQUALIFY HENZE
     Michael Lacey, et al.,                        COOK MURIPHY PLLC
19
20                    Defendants.                 (Oral argument requested)

21
22
            The government has moved to disqualify the law firm of Henze Cook Murphy PLLC
23
24 ("HCM") from any further representation of Michael Lacey on the basis of HCM's prior
25   representation of Carl Ferrer, whom the government intends to call as a witness against Mr.
26
     Lacey in the instant prosecution ("Government's Motion"). (Doc. 118.) Mr. Lacey, by and
27
28
             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 2 of 15




     through Paul J. Cambria, Jr., files the instant memorandum in opposition to the Government's
 1
 2   Motion. This Court should deny the Government's Motion because Mr. Ferrer waived his

 3   attorney-client privilege with respect to HCM and has declined to participate in the
 4
     Government's Motion (which purportedly seeks to protect the duties HCM owes to him as a
 5
     former client). Further,even ifMr.Ferrer had not waived privilege,HCM has proposed a limited
 6
 7   representation of Mr. Lacey which does not present an actual or potential conflict with HCM's

 8   prior representation of Mr. Ferrer. The unique facts and circumstances ofthis case indicate that
 9
     the government has failed to demonstrate that disqualification of HCM is necessary, let alone
10
     that "extreme circumstances" justify the government's interference with Mr. Lacey's Sixth
11
12   Amendment right to counsel of choice.

13                                         BACKGROUND
14
            Attorneys Tom Henze and Janey Henze Cook ofHCM have represented Mr. Lacey on
15
     personal and professional legal matters for over a decade. Their institutional knowledge of Mr.
16
17   Lacey's affairs and the company he co-founded, Backpage,LLC("Backpage"), as well as their

18   First Amendment expertise are invaluable to Mr. Lacey as he defends himself in the instant
19
     prosecution. HCM is Mr. Lacey's counsel of choice on this prosecution and on most matters.
20
     Mr. Lacey does not want to replace HCM as counsel on any matters for which HCM is
21
22   representing him and, due to the government's pretrial seizure efforts, has no funds to retain

ZJ   replacement counsel.
24
            In response to the Government's Motion, HCM met with the government and proposed
25
     a more limited representation of Mr. Lacey, which would include HCM's continued
26
27   representation of Mr. Lacey on compliance with conditions of release, forfeiture, and unrelated

28                                                  2
             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 3 of 15



 1   personal matters.    The government declined to stipulate to HCM's proposed, limited

 2   representation of Mr. Lacey.

 3          In light ofthis impasse, the undersigned provided independent counsel to Mr. Lacey on
 4
     lus potential conflict with HCM. Mr. Lacey understands that HCM cannot participate in his
 5
 6   defense at trial because HCM could not cross-examine Mr. Ferrer, while at the same time, the

 ~   failure to do so would constitute a failure to effectively defend him against the government's

 g   charges. Nonetheless, Mr. Lacey wants HCM to continue their representation of him on
 9
     compliance with conditions ofrelease, forfeiture, and personal matters as his counsel of choice
10
     on those matters. Mr. Lacey has waived any conflict with respect to HCM's representation of
11
12   him on those matters as evidenced in his declaration. (A true and correct copy of Mr. Lacey's

13   Witten waiver is attached hereto as E~ibit A.)
14
            Mr. Lacey respectfully requests that this Court to deny the Government's Motion to the
15
     extent that it would interfere with the proposed,limited representation by HCM on compliance
16
1~   with conditions of release, forfeiture, and unrelated personal matters. Under this proposed,

1g   limited representation, Mr. Lacey will continue to benefit from HCM's institutional knowledge
19
     of his business and professional affairs; however, HCM's representation would not involve
20
     acting as trial counsel or sharing any confidential information with Mr. Lacey's trial counsel in
21
22   this prosecution, including the undersigned.

23          The goverrrllnent has no ground for seeking disqualification of HCM's proposed,limited
24
     representation ofMr. Lacey. Although it is not stated in the Government's Motion,it is possible
25
     that the government believes that HCM has provided or will provide the undersigned with
26
Z~   privileged information Mr.Ferrer disclosed to HCM during its prior representations ofhim. Rest

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                  Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 4 of 15



         assured, fllere is no risk of such disclosures. HCM has indicated that it will not provide such
 1
 2       information to the undersigned. Our firms are separate and our representation of Mr. Lacey in

 3       this prosecution involves little overlap on the substantive issues of the goverrunent's case. For
 4
         example, HCM has been instrumental in providing detailed information about Mr. Lacey's
 5
         assets to the undersigned in connection with the government's wholesale pretrial seizure of Mr.
 6
 7       Lacey's assets to enable defense counsel to evaluate whether the particular seizures at issue were

 8       appropriate under the law. None ofthe communications between HCM and the undersigned on
 9
         this issue have had anytl~ig to do with Mr. Ferrer.
10
11
12              The Sixth Amendment guarantees the right to assistance of counsel in a trial for any

13       serious crime. See Gideon v. Wainwright, 372 U.S. 335, 343 (1963). A critical element of that
14
         assistance is "the right ofthe defendant who does not require appointed counsel to choose who
15
         will represent him." United States v. Gonzalez-Lopez, 548 U.S. 140, 144 (2006) (emphasis
16
17       added). For this reason, when "the right to be assisted by counsel of one's choice is wrongly

18       denied ...it is unnecessary to conduct an ineffectiveness or prejudice inquiry to establish a Sixth
19
         Amendment violation." Id. at 148.
20
                The right to counsel ofone's choice is not absolute; however,it iswell-settled that a court
21
22       analyzing a motion for disqualification must start with a "presumption in favor of petitioner's

23       counsel of choice," which can be overridden only by an actual conflict of interest or a serious
24
         potential for conflict. Wheat v. United States, 486 U.S. 153, 159, 164(1988). Because of the
25
         potential for abusive tactics, the Ninth Circuit has cautioned courts to review motions for
26
27       disqualification brought by opposing counsel with "particularly strict scrutiny." Optyl Eyewear

28 ~ ~                                                   4
              Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 5 of 15




     ', Fashion Int'Z Corp. v. Style Cos., Ltd., 760 F.2d 1045,1050(9th Cir. 1985). The risk ofabusive
 1
     use of disqualification by the government in a criiiunal prosecution is particularly troubling, as
 3   the Supreme Court has recognized that, under the guise of the integrity of the courts, the
 4
     government"may seek to `manufacture' a conflict in order to prevent a defendant from having
 5
     a particularly able defense counsel at his side." Wheat,486 U.S. at 163.
 6

 7          In light of the risk of abusive use of disqualification of defense counsel on the grounds

 8   of concern for the integrity of the courts, the Ninth Circuit has explained that "the government
 9
     bears a heavy burden of establishing that concerns about the integrity of the judicial process
10
     justify the disqualification." United States v. Washington,797 F.2d 1461, 1465(9th Cir. 1986).
11

12   Similarly, the Arizona Supreme Court has cautioned that "[o]nly in extreme circumstances

13   should a party to a lawsuit be allowed to interfere with the attorney-client relationship of his
14
     opponent." AlexaizdeY v. Superior Court, 141 Ariz. 157, 161 (1984)(citations omitted).
15
            Against the backdrop of this fundamental constitutional right, essential to an effective
16

17   defense,the Government has moved for disqualification ofHCM under Rule 1.9 ofthe Arizona

18   Rules ofProfessional Conduct.(See Gov't's Mot. Doc. 118 at 8.)' Rule 1.9 governs a lawyer's
19
     responsibility to former clients, protecting former clients from disclosure or use of confidential
20
     information in the course of a representation of a current client "in the same or substantially
21

22

23

24
     1      It does not appear that the government has moved for disqualification ofHCMunder
25   Rule 1.7 because that rule addresses concurrent conflicts, which are not applicable to
26   HCM's prior representation of Mr. Ferrer. Indeed, HCM concluded its representation of
     Mr. Ferrer in October 2017.
27

28                                                   5
                  Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 6 of 15




       related matter in which [the current client's] interests are materially adverse to the interests of
 1
 2 ~ the former client."2
 3            As the foregoing demonstrates, the government has failed to demonstrate "extreme
 4
       circumstances" meriting its attempt to interfere with Mr. Lacey's Sixth Amendment right to
 5
       counsel ofchoice under Rule 1.9.
 6
 7           I.      HCM is Mr. Lacey's counsel of choice on certain issues in this prosecution
                     and on other, unrelated matters.
 8
 9            HCM is Mr. Lacey's counsel of choice on compliance with conditions of release and

10 forfeiture issues in this prosecution, as well as unrelated personal matters. HCM's institutional
11
       knowledge ofMr. Lacey's personal affairs, which is at the heart ofHCM's representation ofMr.
12
       Lacey on these issues, is irreplaceable. HCM's knowledge was gained through over a decade
13 '
14     ofrepresentation of Mr. Lacey with respect to his personal and commercial interests, as well as

15 I representation of his family in personal matters. Mr. Lacey has waived any potential conflict
16
       with respect to HCM's continued representation ofhim on these isolated matters. (See Ex. A.)
17
18
       Z      In greater detail, Rule 1.9 states:
19
             (a) A lawyer who has formerly represented a client in a matter shall not thereafter
20               represent another person in the wine or substantially related matter in which that
21               person's interests are materially adverse to the interests of the former client
                 unless the former client gives informed consent, confirmed in writing.
22                                                     ~ ~~
23           (c) A lawyer who has formerly represented a client in a matter shall not thereafter:
24                   (1) use information relating to the representation to the disadvantage of the
                     former client except as these Rules would permit or require with respect to a
25
                      client, or when the information has become generally known; or
26                   (2)reveal information relating to the representation except as these Rules
27                    would permit or require with respect to a client.

28
                Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 7 of 15




               It would be fundamentally unfair and cause an undue hardship to Mr. Lacey and his
 1
 2 family, if he is required to find new counsel on these isolated matters, unrelated to the merits of
 3      the government's case. Moreover, Mr. Lacey would struggle to retain new counsel on these
 4
        matters because the government's pretrial restraint of his assets has rendered Mr. Lacey unable
 5
        to meet basic financial obligations regarding his living expenses, let alone sufficient funds to
 6
 7      retain new counsel.

 8            II.    Mr. Ferrer waived the right to challenge any potential conflict regarding
 9                   HCM's continued representation of Mr.Lacey when he waived his attorney-
                     clientprivilege with HCM in writing in his proffer agreement.
10
               Critical to the government's efforts to purportedly protect Mr. Ferrer's interests with
11
12      respect to HCM under Rule 1.9, conflicts arising under Rule 1.9 are waivable through"informed

13 ' consent, confu-~ned in writing." RPC 1.9(a). Mr. Ferrer has done just that.
14 I~
               On Apri15,2018, Mr. Ferrer signed a proffer agreement. (A true and correct copy ofthe
15
        proffer agreement is attached hereto as E~ibit B.) In the proffer agreement, Mr. Ferrer waived
16
17      any conflict arising out ofHCM's personal or professional representation ofhim by virtue ofhis

18      waiver of"all claims of attorney-client privilege" as to all of his former attorneys except with
19
        respect to his "current attorneys, Nanci Clarence, Jonathan Baum and anyone working on their
20
        behalf." (Ex. B ~ 2.) Mr. Ferrer's blanket waiver as to privilege with respect to HCM,alone,
21
22      should result in the denial ofthe Government's Motion because Mr. Ferrer would have no basis

23      to complain about the potential risk of use of privileged information when he, himself, has
24
        disclaimed, in writing, any privilege with HCM.3
25
26
        3     Further, Mr. Ferrer's conununications with HCM were also pursuant to a joint-
27      defense agreement, which can be provided to the Court in camera, if needed.
28                                                     7
              Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 8 of 15




            Moreover,it cannot be underscored enough that Mr. Ferrer declined to participate in the
 1
 2   Government's Motion as the government conceded in its May 14,2018 letter to Mike Piccarreta.

 3 (A true and correct copy ofthe Government's May 14, 2018 Letter is attached hereto as E~ibit
 4
     C.) If Mr. Ferrer was at risk for a legitimate breach of the duties owed to him by HCM under
 5
     Rule 1.9, he could have joined in the Government's Motion to protect his interests. Instead, he
 6
 7   declined the government's offer to safeguard his rights under Rule 1.9. His failure to join the

 8   Government's Motion strongly suggests the government is seeking disqualification for its own
 9
     tactical reasons.
10
           III.    The proposed limited role for HCM's representation of Mr. Lacey presents
11
                   no actual or potential conflict that would run afoul of Rule 1.9.
12
            HCM has proposed to limit its representation of Mr. Lacey in a manner that presents no
13
14   actual or potential conflict with its prior representation of Mr. Ferrer under Rule 1.9. With

15   respect to the instant prosecution, HCM intends to limit the scope of its representation of Mr.
16
     Lacey to assisting Mr. Lacey with compliance with this Court's conditions of release, and any
17
     forFeiture issues. This aspect of HCM's representation in this prosecution is personal to Mr.
18
19   Lacey and cannot be said to be "materially adverse" to Mr. Ferrer or related to the allegations

20   Mr. Ferrer made against Mr. Lacey during his plea allocution.
21          With respect to HCM's continued representation of Mr. Lacey on personal matters
22
     unrelated to the instant prosecution, there can be no credible claim that this representation
23
     violates Rule 1.9.
24
25          Separate and apart from the fact that these limited representations do not involve an

26   actual conflict or pose the risk of a potential conflict, HCM has indicated that it has
27
28
               Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 9 of 15




       established a screen to prevent disclosure of any purportedly privileged information regarding
 1
 2     Mr. Ferrer from being disseminated to Mr. Lacey's defense counsel in this prosecution (even

 3     though Mr.Ferrer has waived privilege in writing). Critically, an attorney's good faith statement
 4
       that he or she has erected and will abide by a screen is sufficient to dispel any concerns about
 5
       disclosure of confidential corninunications. See United States v. Caranzadre, 892 F. Supp. 2d
6
 7     397, 405 (D.R.I. 2012)(rejecting the government's argument that an attorney's erection of a

 8     screen, and statement that he would comply with the screen was insufficient to fend off
 9
       disqualification because "[w]ithout evidence to the contrary, this Court will rely upon the good
10 '
       faith and judgment of counsel"); see also United States v. Lo~^enzana-Cordon, 125 F. Supp. 3d
11
12     129, 136-39 (D.C.D.C. 2015) (denying govermnent's motion to disqualify defense counsel

13     because defense counsel erected an ethical screen and based on the court's knowledge of
14
       counsel's practice and integrity, the screen was sufficient to dispel any concerns about counsel's
15
       intentional or unintentional disclosure of confidential information to the attorney cross-
16
17     examining counsel's former client).

18            Further, HCM has stated that it will not participate in any aspects of the instant
19
       prosecution other than compliance with conditions of release and forfeiture, which means that
20
       HCM will not be involved with the merits of the instant prosecution or the preparation for or
21
22     cross-examination of any of the government's witnesses. These limitations on HCM's

23     representation make it clear that there will be no actual or potential conflict with Mr. Ferrer
24
       rendering the Government's Motion insufficient.
25
26
27
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               Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 10 of 15




              Finally, the goverrrnllent's conclusory concerns about the integrity ofthe judicial system
 1
 2     are insufficient to justify disqualification of Mr. Lacey's counsel ofchoice, HCM. As the Ninth

 3     Circuit has recognized:
 4
                      It is easy to express vague concerns about public confidence in
 5                    the integrity ofthe judicial process. It is quite a different matter
                      to demonstrate that public confidence will in fact be
 6
                      undermined if criminal defendants are permitted to retain
 7                    lawyers who worked for the government in the field of law
                      implicated by an indictment. We are unwilling to sacrifice a
 8                    defendant's Sixth Amendment right to counsel of his choice on
 9 '                  such an unsubstantiated premise.

10 ~ Washington, 797 F.2d at 1466 (vacating conviction and remanding for reconsideration of the
11
       government's motion for disqualification).
12
             IV.     None of the cases upon which the government relies support disqualification
13                   under these circumstances.
14
              The government has not provided this Court with a single case that supports
15
       disqualification ofHCMundertheseunique facts and circumstances. None ofthe cases in which
16
17     the government has prevailed on disqualification of defense counsel on the basis of defense

18     counsel's prior representation of a govermnent witness involved that witness's blanket waiver
19
       ofprivilege in writing.
20
              Further, each of the cases cited by the government supports disqualification of cr-iininal
21
22     defense attorneys from appearing as trial counsel due to the expected participation of former

23     clients as cooperators when the attorney or firm at issue would be involved in cross-examination
24
       ofthe former client(s). Here,HCM has stated that it will not participate in the trial ofthe instant
25
       action, nor will HCM provide any privileged information gained through its prior representation
26
27     of Mr. Ferrer to Mr. Lacey's trial counsel. The govermnent has not provided any cases that

28                                                     10
               Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 11 of 15




       result in the duty to a former client trumping a current client's Sixth Amendment right to counsel
 1
 2     ofchoice under these circumstances.

 3            For example, in United States v. Ross, 33 F.3d 1507 (11th Cir. 1994), the defendant
 4
       retained an attorney at a law firm which,in the past, had represented one ofthe key prosecution
 5
       witnesses on similar charges. See id. at 1522. The Eleventh Circuit explained that"ifthe conflict
 6
 7     could cause the defense attorney to use privileged communications in cross-examination, then

 8     disqualification is appropriate." Id. at 1523. In finding that "there were actual, and potential,
 9
       conflicts that could have unpeded the trial," the Court focused on issues that might arise during
10
       examination at trial. See id. Under this standard,the Court concluded that potential questioning
11
12     of the government's witness about a prior retainer payment he made to the defense attorney

13 "would have opened the door to potential conflict" because that questioning would have been
14
       necessary to an effective defense of the current client but would have violated the duty of
15
       confidences and loyalty to the prior client, the government witness. See id. Critically, the
16
17     Court's decision turned on the fact that the attorney's effective cross-examination of the

18     government's witness would have turned a potential conflict into an actual conflict. See id.
19 '
              United States v. Moscony, 927 F.2d 742 (3d Cir. 1991) is equally unavailing to the
20
       Goverrunent's Motion. In that case, defense counsel had represented several employees from
21
22     the same company,including the defendant, on RICO and fraud charges related to operation of

23     defendant's real estate business. See id. at 747. Prior to trial, the government moved for
24
       disqualification of defense counsel on the ground that two of its witnesses, employees of the
25
       same company as defendant whom had been represented by the attorney, would be called as
26
27     witnesses against the defendant. See id. The Third Circuit noted that "an attorney who cross-

28                                                    11
             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 12 of 15




     examines former clients inherently encounters divided loyalties," and that defendant's counsel
 1
 2   could not cross-examine the former clients "without revealing information `relating to' his

 3   representation of them." Id. at 750. Again, the Court's determination that disqualification was
 4
     appropriate turned on the actual conflict that would arise when the attorney cross-examined his
 5
     prior clients.
 6
 7           Similarly, United States v. Williams,81 F.3d 1321 (4th Cir. 1996)lends no support to the

 8   Government's Motion regarding disqualification ofHCM. In that case,the attorney at issue had
 9
     been retained, previously, by the defendant's girlfriend; however, the goverrunent declined to
10
     charge the girlfriend, and,instead,soughtindictment ofthe defendant. See id. at 1322-23. Citing
11
12 Ross, the Fourth Circuit explained that"the lawyer would have faced exactly the same potential
13   conflict that properly concerned the Ross court." Id. at 1325. Further, the Court declined to
14
     endorse the retention of alixiliary counsel for the purpose of cross-examining the government's
15
     witness, the girlfriend, because the risk of potential conflict remained too great to a11ow the
16
17   continued representation. Again, in this case, there is no risk of potential conflict involving

18   cross-examination of Mr. Ferrer because HCM will not serve as trial counsel and will not share
19
     any privileged or confidential information obtained from Mr. Ferrer with Mr. Lacey's trial
20
     counsel.
21
22          In United States v. Alfof2zo-Reyes,592 F.3d 280(1st Cir. 2010),cited by the government,

23   the defendant's attorney had previously represented a government witness who was scheduled
24
     to testify at trial. See id. at 293. The court found that the attorney's "representation may have
25
     placed her in the position of having to cross-examine her former client, a witness with whom
26
27 she shared confidences protected by attorney-client privilege." Id. at 294. Here, no such risk
28                                                  12
             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 13 of 15




     exists because HCM will not appear as trial counsel and there is no possibility, even remote,that
 1
 2   attorneys from HCM will cross-examine Mr. Ferrer at trial.

 3          In an attempt to bolster its disqualification motion on the basis of future appellate
 4
     concerns, the government cites two cases in which neither the government nor a witness raised
 5
     disqualification pre-trial, but an appellate court reversed the convictions due to ineffective
 6
 7   assistance of counsel because trial counsel labored under a conflict. (See Gov't's Mot. at 13-14

 8 (citing United States v. Iorizzo,786 F.2d 52(2d Cir. 1986),and United States v. Henke,222 F.3d
9
     633 (9th Cir. 2000).) Those cases are readily distinguishable because Mr. Lacey has retained
10
     independent trial counsel for this prosecution. Indeed,the undersigned has had no prior contact
11
12   with Mr. Ferrer.

13                                           CONCLUSION
14
            In sum,there will be no actual or potential conflict with HCM's continued representation
15
     of Mr. Lacey in the limited, proposed capacity because there is no potential for HCM's cross-
16
17   examination of Mr. Fever and no potential for HCM's conveyance of privileged information

18   obtained from representation of Mr. Ferrer to Mr. Lacey's defense counsel in this action. Even
19
     ifthere was a risk ofconflict, Mr. Ferrer waived pursuit ofthe conflict in writing. Tellingly, Mr.
20
     Ferrer declined to participate in the Government's Motion. Under these circumstances,
21
22   disqualification is not only improper, but has been deployed as an abusive tactic, which this

23   Court should reject.
24
            Mr. Lacey respectfully requests that this Court deny the Government's Motion and allow
25
     HCM to continue representing him in the proposed capacity as his counsel of choice. The
26
27
28                                                  13
            Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 14 of 15




     government has presented no facts or law that support a contrary ruling and his Smith
 1
2    Amendment rights would be eviscerated by disqualification ofHCM.

 3         RESPECTFULLY SUBMITTED this 6th day ofJune,2018,
4
5
                                      /s/    PaulJ. Cambria Jr.
6                                            LIl'SITZ GREEN SCIlVIE CAMBRIA LLP
                                             Attorneys for Defendant Michael Lacey
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             Case 2:18-cr-00422-DJH Document 174 Filed 06/06/18 Page 15 of 15




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